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4                                   UNITED STATES DISTRICT COURT

5                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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     UNITED STATES OF AMERICA,                                Case No. 1:16-CR-0187 DAD BAM
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                    Plaintiff,                                ORDER FOR PSYCHIATRIC OR
8                                                             PSYCHOLOGICAL EXAMINATION
            v.                                                PURSUANT TO 18 U.S.C. '4241(b) AND
9                                                             EXCLUSION OF TIME
     ROBERT GONZALEZ,
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                    Defendant.
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                                                   /
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13          On May 17, 2019, counsel for Defendant Robert Gonzalez filed a motion for the court to
14   address Defendant’s medical issues. The motion was filed under seal pursuant to court order. (ECF
15   No. 105 and 106.) The motion attached a psychological preliminary report which counsel had
16   arranged. In the motion, counsel represented her concern that her client lacks the present ability to
17   consult with counsel in a meaningful way and that Defendant is unable to assist properly in his
18   defense. In the psychological preliminary report, the reviewing psychologist opined that Defendant
19   Gonzalez’ current mental status negatively affects his judgment, impulse control, and insight. On May
20   21, 2019, the Court held a hearing and construed the motion and preliminary report as one to
21   determine whether to commit Defendant for examination.
22           The Court finds that once the Court is presented with representations which form reasonable
23   cause to believe the defendant lacks the mental fitness to proceed, whether by motion, by facts coming
24   before it, or through its own observations, the Court is mandated to order a psychiatric or
25   psychological exam. See generally Chavez v. United States, 656 F.2d 512, 516-18 (9th Cir.1981).
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1    Based upon counsel’s sealed motion, the sealed psychological preliminary report, and the conduct at

2    the hearing, the Court has reasonable cause to believe Defendant lacks the mental fitness to proceed

3    and assist properly in his defense.

4           THEREFORE, IT IS ORDERED that pursuant to 18 U.S.C. §4241(b), a psychiatric or

5    psychological examination of Defendant Robert Gonzalez be conducted and that a psychiatric or

6    psychological report be filed with the Court pursuant to the provisions of 18 U.S.C. §4247(b) and (c).

7    It is further ORDERED that defendant is committed to the custody of the Attorney General, and the

8    United States Marshal's Service is directed to transfer Defendant to a suitable facility for examination.

9    The Court recommends a suitable facility within reasonable proximity to this District.

10          The Court orders this entire period of time be deemed excludable under the Speedy Trial Act,

11   18 U.S.C. ' 3161(h)(1)(A).

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13   IT IS SO ORDERED.

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        Dated:     May 21, 2019                               /s/ Barbara A. McAuliffe               _
15                                                      UNITED STATES MAGISTRATE JUDGE
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